              Case 3:19-cv-03223-JSC Document 28 Filed 02/10/20 Page 1 of 1




1
                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
2

3
     CATHERINE HOSINO, individually                )   Case No.
4
     and on behalf of all others similarly         )
5    situated,                                     )   3:19-cv-03223-JSC
                                                   )
6                                                      PROPOSED ORDER TO DISMISS
     Plaintiff,                                    )
7                                                  )   WITH PREJUDICE AS TO
            vs.                                    )   PLAINTIFF AND WITHOUT
8
                                                   )   PREJUDICE AS TO CLASS
9    SPRINT SOLUTIONS, INC., and                   )   CLAIMS.
10   DOES 1-10,                                    )
                                                   )
11
                                                   )
                  Defendant(s).
12

13
            IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
14
     this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and
15
     without prejudice as to the Putative Class alleged in the complaint, pursuant to
16
     Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
17
     costs and attorneys’ fees.
18
                                                            February 10, 2020
                                                Dated this ____________________
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                                             Honorable Judge ofNthe District Court
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                                     [Proposed]Order to Dismiss - 1
